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                    Exhibit F
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                                      STATB OP NEw YORK
                              OPPICB OP THBATTORNBY GBNBRAL
                                                                             ~ ofSoolal Justice
Brie T. Scbneiderman                                                         DavJd B. Nacbman
Attorney General                                                             BufoIoemeot 8ectf0ll Cbi~
                                                                             O:uufties Bureau
                                                                             212-416-8390

                                                              December 19, 2013

.Mr. David M. Frankel
ChiefExeoutive Officer
Metropolitan Council on Jewish Poverty
120 Broadway
New Y~ NY 10271

Dear Mr. Frankel:

       As you know, the Office ofthe Attorney General ("OAO") ~ filed felony complaints
against William Rapfogel, the fanner ChlcfExeoutive Officer ofMctropolitan New Yade
Coordinating Council on Jewish Poverty ("Met Councif'), and Joseph Ross of Century Coverage
Corp., Met Council's former insurance provider, charging them with theft ofcharitable assets
from Met Council between January I, 1993 and August 12, 2013. The ~ thtlt Rapfogel and
other former senior execmtives at Met Council WC1'Cl able to oany out such a large insurance fraud
over such 811 extended period raises serious questions about Met Council's governance, internal
controls and outside aud4ors. Pursuant to the authority ofNew Yodc's Not-for-Profit
Corporations Law ("N-PCL") and Estates, Powers and Trusts Law ("EP1L''), the OAO's
Charities Bureau has examined the adeqwwy ofMet Council's governance processes and internal
controls to prevent misappropriation and waste ofcharitable assets (the "Investigation").

         At this stage ofthe Investigation, it is apparent that Met Council firlled to adopt a number
of critical processes and controls which could have mitigated or avoided the loss of its charitable
f\mds. It is also apparent, however, that since the fraud was ~covered, Met Council's Board of
Directors (the "Board'') has taken important steps to address the misconduot that is the subject of
the OAO's ariodna1 complaints and to help restore Met Council's ability to carry out its
important mission ~b1y. Beginning in August 2013. the Board has investigated these
matters with the assistance ofoutside counsel and forensic auditors, promptly reported its
findings to the OAG, and is cooperating thoroughly in the Charities Bureau's Investigation,
including by providing documents and analysis and making witnesses available. Met COWlcil
also has cooperated in ongoing examinations by the New York City Mayor's Office ofContraet
Services ("MOCS''). the New York City Department ofInvestigation ("oor') and the Office of
the State Comptroller ("OSC"). In addition. the Board has addressed the misconduct that is the
subject ofthe OAG's ariminal complaints by taking the steps described below to replace Met
Council's senior management.

      To conclude the Charities Bureau's Investigation, and to enhance and strengthen the
governance, oversight and financial and operational controls at Met Council and its Board, and
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thereby prevent misconduct in the fbturo, the BolUd has further agreed to take the additional
steps described below, including the 11iring ofa new independent auditor and oertain ongoing
evaluation of its fiscal contiols. as wen as of its financial condition and cost struoture, hrternally
and by a mopitor to be appointed under the terms ofthis Agreement and Met Council's
companion agreements with MOCS and 001. Together with MOCS, DOl and tho New York
State Division of the Budget ("DOB", the OAG looks forward to reviewing the additional
rmnedial measures developed and proposed by Met CounCIl to ensure tbat its finanoial
management and controls incorporate b:(lSt practices appropriate for an organization ofMet
Council's size and scope of operations. Met Council's adherence to the steps it has agreed to
take under this Agreement and the companion Corrective Action PIan ("CAP") and Monitoring
Agreement can allow the relevant State and City agencies to reinstate their contracts with Met
Council and enable it to continue to serve the poor and needy in responsible fBshion.

Steps By Met Council To Strengthen its Govenumce and Controls

       To date, Met Council has addressed the misconductthat is the subject of the OAO's
crimina1 complaints by (i) terminating RapfogeJ's services; (ii) hiring David Frankel as its new
ChiefExecutive Officer ("CEO"); (iii) terminating the consulting services ofRapfogel's
predecessor, David Cohen; and (Iv) making personnel changes to strengthen its senior
managemcmt team.

      In addition, as agreed with DOB, MOCS, and DOl (collectively, the "Agencies") and with
the OAG, Met Council will1ak.e the following actions:

L NewStaff

    A. By February 28.2014. the Board shall hire a General Counsel and a CbiefCompliance
       Officer (who may be the same person as 'the General Counsel), each acceptable to the
         Agencies.

    B. Met Council will consuh with the Agencies regarding the going-forward plans ofthe
       CUlTeot CbiefFinancial Officer and any potential transition. Met Council has tenninated
       and/or reassigned certain other staff'members, including the chiefs of staff and
     , operations.

    c.   The Board shall tennlnate the employmcot ofany employee whose continued
         emplDyment is jointly determined by the Board and the Agencies as an impediment to
         Met Council's ability to conduct its operations in a legally compliant manner as soon
         after such determination as the Board and the Agencies,agree is reasonably possible.

    D. No employee terminated as a result ofwrongdoing related to the insurance fraud scheme
       shall be provided any severance, pension or other benefits that have not irrevocably
       vested as ofthe date ofsuch termination.

    E. Until such time as the Agencies detennine, any new Executive Staffhired by the Board
       shall be subject to the approval ofthe Agencies.



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n. Persouel PoBcies
   A. By Apn130. 2014. Met Council shall amend its employee manual to include provisions,
      consistent with best praatices for an organization ofMct Council's size and scope and
      acceptable to the Agenci~ setting out:                                          .
      1. legal BJ;ld ethical limitations on political activities and oontn"utions by Met Council
         and its employees; and
      2. a code. ofethics.

   B. By April 30. 2014, Met Council shall further am~d its employee manual to include a
      whistlcblower policy, acceptable to the Agencies, which shall:
      1. include an intemaI reporting mechanism and procedure by which staft; directors,
         volunteers, and anyone associated wIth Met Council or Its affiliates may report any
         complaints and allegations, including but not limited to fraudulent activities and
         inappJ oprlate bcbavior;
      2. CJ18U1'C that the identity ofany individual who reports such a complaint or allegation
         sba11 be kept strictly confidential;
      3. establish an extema1 "whistleblower hotUne" consisting of a telephone number, email
         address and/or other means of communication by which individuals may report
         complaints and allegations confidentia]]y;
      4. require a mechanism to report all complaints and allegations to all Board officers and
         to Met Council's General COlDlSeI. either or both ofwhom shall make, where
         appropriate, referrals to relevant outside individuals and agencies; and
      5. establish a policy to protect, from retaliation or other negative consequences,
         individuals who report such complaints and allegations.

   C. By May 15.2014, Met Council shall:
      1. furnish copies ofthe code of ethics (point ll.A.2.) to each Board Member and Key
         Person (meaning each director, officer, individual participating in overall financial or
         policy-making decisions fur Met Council, and each person in a position to control
         and/or dJrect overall Met Council operations);
      2. post copIes ofthe code ofethics on Its website;
      3. furnish copies ofthe code of ethics to each ofMet Council's affiliated businesses and
         subcontractors working on City Contracts (as defined in the CAP); and
      4. distribute copies ofthe amended employee manual (point D.A.) to all employees.

   D. By May 30, 2014, Met Council shall require each Board Member, Key Person and
      employee to certify that s1he has reviewed and will abide by the limitations on political
      activities and contributions and the code ofethics set forth in the amended employee
      manual (point II.A.). and to so certify annually thereafter.

m.CompeD88tionlBenefitB

   A. By April 30, 2014, the Compensation Committee shall, in accordance with its
      responsibilities set forth. in point V.B.3., complete a full examination ofMet Council's
      compensation and benefits package including tuition reimbursement; use of Met Council

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      vehicles, cell phones, computers and other technological equipment; and vacations.
      compcmsatory time and other DOD~salary benefits. The Committee shall provide the
      Board and executive staffwith a report ofits findings and recommendations with respect
      thereto.

   B. Effective the date ofthis Agreement, Met Council shall suspend all reimbursement to
      ~loyecs oftuitiOli and I8lated payments.

   C. By June 30, 2014, and after considering the Compensation Committee's report referenced
      above, Met Council shall establish policies regarding compensation and benefits
      acceptable to the Agancics that shall:                                           .
      1. absent good reason not to do so, implement the recommendations set forth in the
         Committee's report;
      2. ensure that any reimbursement by Met Counoil of tuition and related expenses
         complies with best practices and is determined in an appropriate and oonsistent
         mannar;
      3. ensure that checks and vouchm's issued on Met Council's behalfare issued only for
         J'e8Mt1able and valid business purposes (e.g., by specifying the individuals authorized
         to sign checks and vouchers, the number ofsignatures required, etc.);
      4. ensure that employee use ofcell phones, computers and otlier technological          .
         equipment owned or otherwise t\mded by Met Counell is reasonable and limited to
         valid business purposes, complies with best practices, and is determined in an
         appropriate and consistent manner;
      5. ensure that employee vacations and other non.salary benefits comply with best
         practices and'are determined in an appropriate and consistent manner, and explicitly
         prohibit compensatory time;
      6. ensure that any employee use ofvebicles in connection with Met Council work,
         whether such vehicles are owned or leased by Met Councilor by the employees,
         complies with best practices, causes expenditures by Met Council only for reasonable
         and for valid business purposes. and the value is appropriately reflected in all relevant
         reporting and 1aX accounting;
      7. ensure that any reimbursement by Met Council oftrave~ dining and related costs
         complies with best practices, is determined in an appropriate and consistent manner,
         and causes expenditures by Met Council only for reasonable and valid business
         purposes; and
      8. acknowledge the Agencies' right to limit State/City participatio~ in any benefits
         offered by Met Cooncn to its employees ifthe Agencies deem such benefits to be
         detrimentally inconsistent with those ofother entities that contract with the State/City,
         whether or not those bene~ comply with New Yark Executive Order 38.

IV. Other Audit/Finance Wges

    A.By February 28, 2014, Met Council shall submit to the Agencies copies or each ofthe A-
      133 audits it has submitted to any federal agency since January 1,201 I. Until such time
      as the Agencies determine, Met Council shall:
      1. provide copies ofits A-133 audits to the Agencies at the same time it submits those
          audits to any federal agency; and

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     2. follow the A-133 audit protocol for all audits in which it is involved, including:
        a. the 8DD1I81 independent audits addressed in point VD.2.;
        b. all audits ofaffilintes for which Met Council has financial responsibility,
            inaluding those af61jates 88 to which Met Council:
            i. serves 88 fiscal agent;
            ii. is the sole member; or
            iii. bas sole power to aippolnt members to the board.

   B. By February 28,2014, Met Council shall engage a new outside auditor acceptable to the
      OAO and the Agencies.

   C. By April 30, 2014, Met Council shall submit for the Agencies' approval a plan ofaction
     for:
     I. reviewing, verifying and/or correcting aU material Met Council flnancial reports for
        the years 2011-13, including 9908, 1099&, W-2s, oonsolidated financial statements.
        and tax filings; and                                   . .
     2. conducting future annual audits ofMet Counoil's books and records in 8CCQldance
        with the federal A-133 audit protocol (aee point.lJ'.A.2.), which shall include review
        ofintemal cmdrols.and financial activity, and which shall investigate, document and
        report all questionable and/or unauthorized transactions made_by Met Council on,
        through or ht connection with oredit cards, petty cash, the vendor payment and/or
        payroll system, and/or the system for procuring goods or services;
     3. providing to the Agencies whatever additional analyses and documents concerning
        the amount ofpremium overcharges paid by Met Council to Century Coverage Corp.
        as the Agencies"reasonably reqDest; and
     4. implcmumting a computer-based system fbr recording the time employees spend
        working for Met Council that accounts for time, attendance, and functions performed
        and that ties to any billing reports submitted by Met COlmail to the Agencies.
  D. By June 30, 2014, Met Council sball:
     1. implement a centralized purchasing protocol acceptable to the Agencies. setting
         policies and procedures for vendor selection;
     2. develop, and provide to all relevant ~ training and reference materials relating to
        the protocol, and thereafter provide such materials to all newly hired relevant staff
        promptly after hiring; and
     3. within six months ofapproval ofthe protocol, for all vendor contracts for goods or
         services with an annual value of$25,ooo or more that are entered into at ~
        Oounell's discretion, utnize a competitive procurement process before awarding the
        contract, except in the case ofa bona fide emergency as to which the Board or a
        'Committee thereofhas approved such exception.
     4. Ooing forward, contracts for vendors selected shall be for a tenn not greater than 3
        years and shall require re-bidding through a competitive procurement process prior to
         renewal.

  E. Effective upon the date ofthis Agreement, Met Council shall suspend the use ofall
     existing Met Council-issued credit cards, except for those held by no more than 20
     individuals whose use ofcredit cards the CEO deems in writing to be most essential for

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     its operations. By Aprll30, 2014, tho Finanoc Cammitteo shaI1 complete an inquiry, and
     provide the Board end exeautivD staffwith a report orits findings and recommendations,
     regarding pobmtial altamatives to providing.earporate credit cards to employc:es. This
     inquiry sball include:
     I. a revi~ ofapproaches to employee usc. ofcorporate credit cards taken by other
          comparably sized uonprofits; and
     2. considoration of sacb potImtial altm'natives as:
          a. requiring employees to use t.befrpersona1 credit cards fur Met Council expenses
             and request reimbursement:from Met Council;
          b. establisbing lines of credit with ftequcmtly used vendors; and
          c. issuing only cards with low aredit limits.

  F. By}4ay 30,2014, and afterconsiderationoftbe Finance Commfttce's report on credit
     card a1tm'natives referenced aboVe, Met Council shaD establish a pollcy regarding
     employee corporate oredit card lJSe, acceptable to tho Agencies, that shall:
     I. absent good reason not to do so, implement the Finance Committee's
        recmtlmeodatlons regarding altmnatives to corporate credit.cards;
     2. specifica1ly set out Met CounCIl's systmn ofmonitoring and control ofemployee
         corporate credit card usc, including identifYing and explaining the justification for the
         specific job titles at Met Council for which corporate credit cards are deemed
          necessary;
     3. reinfurcc the prohibition against any personal use ofcorporate credit cards;
     4. ensure that employee use ofoorporate credit cards compHes with best practices and
        that Met Council's polley regarding such use is appropriately and consistently
        cnfurced;
     5. ~nsurc that all charges arc reviewed by the appropriate supc:l'yising personnel and Met
        CounoD's finance de,plU1ment, and that all charges by the CEO are reviewed by the
        Audit Committee {see point Y.D.2.t.); and
     6. ensure that only reasonable and business-related charges are approved.

  G. Met Council's Finance Committee sball, in accordance with specifications determined by
     the Agencies:
     1. by Jwe 30, 2014, conduct an evaluation of:
         a. the financial condition, finanoial management and cost structure ofMet Council
            to render short-term and long-term prognoses for the agency;
         b. Met Cowell's fitness to serve as a fiscal conduit for IPlY ofits affiliates and/or
            any other entities; and'           .
         c. Met Council's vendor relationships and contracts.
     2. Upon the conclusion ofsuch evaluation, the Finance Committee shall prepare:
         a. a written report ofthe Finance Committee's findings and recommendations,
            which the Finance Committee shall send to the Agencies within seven calendar
            days ofbs completion, and regarding which Met Council shall subsequently meet
            with the Agencies to discuss;
         b. a remedial plan ofaction to address the fiscal or other deficiencies cited in the
            evaluation, which shall identifY:
            i. ways to measure or monitor the progress ofthe remedial plan; and



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                n.what, ifany, additional appropriate conditions and controls should be imposed
                  on Met Council in and to coDtinue to serve as a fiscal conduit fur its affiliates
                  and/or any other entities.
        3. Upon the Agencies' approval ofb remedial plan ofaction prepared by the Finance
            Committee pursuant to point IV.G.2., Met Council promptly shall implement the
          , plan.

     H. By March 31, 2014, Met Caunell shall amend its by-laws to include provisions,
        acceptable to the Agencies, that:
        1. a. prohibit expenditures, direct or indirect, ofMet Council fimds for any political
               purposes including campaign con1noutions, fimdraisers and other events,
               inQIuding any expenditures that violate the Internal Revenue Code's prohibition
               agaiDstpolitical contributions by 501(c)(3) organimtions, and including any
               reimbursement of or request for such expenditures; and
           b. require all political contributions made by senior management ofMet CouncD to
               be reported to DOl annually on May 31st ofeaCh year, as,provided by the
               Monitorin:g Agreement'(Artiale J(B)(l)(e»; and
        2. prohibit personalloansfadvances to officers, direotors and employees.

v.   Governan&:e

     A. By March 31, 2014, the Board sball amend Met Council's by-laws to include provisions
        satisfiwtory 10 the OAO and the Agencies that address the following issues relating to the
        composition and fimotion oftho Board and its committees:
        1. processes for recruiting and ~ving new directors;
        2. training and participation requirements for existing and new members (see point Yl);
        3. term limits and non-voting d.iIector emeriti status;
        4. anti-nepotism rules, including a prohibition against family members ofpaid Met
           CouncU management serving on Met CounoU's or its affillates' boards and a
           promoition against family members ofMet Council Board Members serving on the
           boards ofMet Council affiliates for which Met Council'serves as a :fiscal conduit;
        5. conflicts of interest policies and procedures [mcluding but not limited to dealings
           with elected officials and City employees) acceptable 10 the OAG and the Agencies;
        6. the designation and roles ofthe Board's standing committees and the responsibtlities
           oftheir members (including the separate Audit Committee 10 be established, see point
           V.D.);
        7. the requirement that the Board and its c:omm1ttees keep accurate minutes reflecting
           their deliberations and resolutions, inaluding deliberations and resolutions related to
           programmatic and fiscal issues;
        8. general duties oftbe Board and its committees, including with regard to fiscal and
           programmatic oversight and reporting of actual or potcotial irregularities; and
        9. designation ofall directors and officers as "mandatory reporters;' ofsuspected fraud
           or misconduct, required to report such suspected fraud or misconduct immediately but
           in no event more than 7 business days after discovery, with explicit consequences for
           failure to do so, e.g., removal.




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  B. By March 31, 2014, the Board shall:
     1. establish a Governance Committee charged with addressing issues ofinterna1
        operation arid control, to be ohaired by a dirCotof with approprla1a governance
        experience;
     2. fbrmaUy separate the existing Audit and Finance Committee into two committees (aee
        point Y.D.l.); and
     3. establish a Compensation Committee:                                             .
        a. to ensure tbatthe total compensation paid to executives is fidr, reasonable and
           .commensurate with services provided, taking into account appropriate benchmark
            and performance criteria; that th~. terms ofemployee compensation arc
            appropriately docUmented; and that best practices are followed with respect to
            fringe benefits and other non-salary perks for executive and non-executive level
            e~IDY~;                                                             . .
         b. which shall conduct an annual review oftbe CEO's performance and ofsuch
            portions oftho CEO's compensation that arc to be set annually; and
         c. the charter ofwhicb shall explicitly provide that any future ~tracts for Met
            Council's executive compensation will comply with Na?i York Executive qrder
            38, "Limits on State-Funded AdminIstratIve Costs and Executive Compensation. n

  C: By Iune 30, 2014:
     1. .in addition to the new memberreocntly added to the Board, the Board shall have
        added at least two new independent directors, and prior to such appointmen1S the
        name and credentials ofeacb ofthose directors shall be submitted to the Agenoies to
        alIDw them to review such candidates in a timely fashion; and .
     2. an equal number ofcurrent directors shall step down :from the Board or become
        direators emeriti without Board or oommittee vote.                             .

  D. Audit Committee
     1. By March 31, 2014, the Board shall replace the current Audit and Finance Committee
        with a separate Audit Committee and a separate Finance Committee, each with its
        own chairperson and members, all ofwbom shall be independent
        a. The initial chair of the Audit Committee shall be a qualified director with
            appropriate experience regarding accounting and internal control issues.
        b. The initial chair ofthe Finance Committee shall be a qualified director with
            appropriate financial experience.
        c. For the period ofthe monitorship described in point vn and in the agreements
            with the City ofNew York, the Board shall submit to the Agencies, for their
            approval, the names and qualifications ofthe chairs ofthe Audit Committee and
            Finance Committee as fur in advance prior to their appointment as reasonably
            possible.
     2. By April 30, 2014, Met Council shall submit for the Agencies' approval a plan of
        action for future annual audits that shall specifically set out the Audit Committee's
        role and responsibilities. Consistent with the new provisions ofMet Council's
        amended by-laws, the members ofthe Audit Committee shall aU be independent. The
        Committee's role and responsibilities shall include:



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         a. oversight ofaccounting and financial reporting processes and auditing offinancial
            statemerrts;
         b. securing an IIllllU&1 independent audit;
         c. ensuring that the auditor is provided access to an books. ~ ~ and other
            information QS needed by the audhm in connection with Its work;
         d. before the audit, reviewing the audit's scope and planning with the auditor,
            including to ensurctbat the audit ronows the protocol furpreparlng federal A-I33
            audits (aee point.IV..A.2.);                                     .
         e. after the audit, reviewing and discussing the results with the auditor, including
            i. material risks and weaJme-sscs in Met Council's internal con1rOls;
            U. any restrictions on the scope ofthe auditor's activities or access to
                infurmation;
            iU. any significant disagreements between the auditor and management; and
            iv. the adequacy (or inadequacy) ofMel Councll's accoQIlting and financial
                reporting processes;
         £ ammally considering tho auditor's performance and independence;
         g. reporting to the full Board on audit-related activities;
         h. overseeing the adoption, implementation and compliance with Met Council's
            conflict ofinterest policies (see point V.A.5.) and whistleblower policy (aee point
            11.B.); and                   .
         i. ensuring that all ofthe CEO's expenses as well as the use ofcorporate credit
            cards and vehicles by Met CouncD personnel arc properly reviewed.

  E. By May 31, 2014, each standing Committee ofthe Board sba1l adopt a committee charter,
     including provisions consistent with the terms ofthis Agreement, to be reviewed and
     voted upon by the entire Board at its next scheduled meeting.

VLTraining

  A. By Febnwy 28, 2014 and annually thereafter, all current Board Members ana Key
     Personnel, as jointly determined by Met Council and the Agencies and identified in the
     Appendix to be added to this Agreement, shall oomplete an ethics and non-profit
     cDmpliance training course consistent with the training and participation requirements for
     Board Members to be set forth in the amended by-laws, and shall sign a certification of
     suoh completion.
     1. The course shall address, among other topics, legal and ethical limitations on political
        activities and contributions by Met Council and its Board Members, employees, and
        other affiliated individuals.
     2. The course shaD be administered by the outside monitor selected by the Agencies (see
        poinl JIll) or one or more other filcilitators approved by the Agencies.
     3. Any newly appointed Board Members and Key Personnel who may succeed the
        persons identified in the Appendix heretot and any other individuals employed by or
        otherwise affiliated with Met Council as jointly determined by Met Council and the
        Agencies to be appropriate, shall complete an ethics and/or non-profit compliance
        training course within 3 months oftheir appointment or employment and annually
        thereafter, and shall sign a certification ofsuch completion.



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  B. By Marab 31, 2014, an Key Personnel, staffand other individuals employed by or
     otherwise afflJhded with Met Council who work directly with Met Council's fiscal
     operations, as jointly determined by Met Counail and the Agencies and Identified in the
     Appendix to this Agmmnent, sbalJ complete technical assistance training in financial
     JI1IPI8pDcmt and fiscal cxmtrols administered by a qualified fiW1ttatnr approved by the
     Aganales. Any newly hired Key PersoDIll'l and Individuals who succeed persons
     identified in the Appendix hereto shall complete such training within 3 months ofthcir
     appointment or employment and annually thereafter, mid shall sign a certification ofsuch
     completion.

vn.   MODitoriDg

  A. Met COUIlOil shall submit to, pay for, and cooperate tully with, monitoring by an ou1s;ide
     inspeetor to be salected by the Agencies, who shall report solely to the Agencies,
     including with respect to the 'frequency, duration and nature of its monitoring activities.

  B.. The monitor shall not report any findings to Met Counoil without the Agencies' presence
      or consent.

  C. The monitor sball review, assess, and report to the Agencies regarding: ,
     1. Met Councll's compliance with the terms of this Agreement;
     2. Met Council's compliance with alllcgal and ethical obligations;
     3. Met Council's fitness to serve as a fiscal conduit for any ofits aftiliates and/or other
        entitles;
     4. Met Council's compliance with any other standards or criteria as determined by the
        Agencies at any time; and
     5. any aotoa1, potential or suspected misconduct by anyone affiliated with Met Counci~
        provided that the Agencies consent to the monitor's inquiry into such misconduct.

  D. All obligations of Met Council set forth in this point vn shall additionally be owed to the
     Agencies. Met Council shall further owe to MOCS and 001 the obligations set forth in
      the CAP.

vm.   Other AssUrances

  A. By April 30, 2014, Met Council shall fonnalize in writing the reJationsbips between Met
     ColD1Cl1 and all the organizations within its network including the Jewish Community
     Councils ("SCCs") and Councils of Jewish Organizations ("COJOs"), outlining their
     respective functions and responsibilities. This includes affiliates that receive any type of
     financial assistance and/or in-kind support including, but not limited to food, staff and
     technical assistance.

  B. Met Council shan immediately notifY the Agencies ifit knows or reasonably should
     know (as "knowledge" is defined in the CAP) that Met Council and/or any of its
     employees, officers, directors, agents, or consultants are subpoenaed, interviewed,
     questioned or otherwise contacted by any City, State or federal agency, official and/or
     employee in connection with any investigation or proceeding ofany kind, whether or not

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       arising out ofor teIated to the issues giving rise to this Agreement; provided, however,
       that this ~on provision shall not apply to any subpoena, interview,. questioning or
       COD1aet issued, conducted or made in OOIIIlCCtion with the OAG's pending pme"«dmg
       against William Rapfogel and investigation ofother Jndividuals and conduct arising :from
       or ralated to 1be subject matter ofthat pro<:eeding.
  c.   Met Council fiJrther agrees that it will promptly notifY the.Agencies in Writing ofany
       changes. including additions or deletions. to any and all information that it is reQuired to
       report on its VENDEX questionnaires or Vendor Responsibility QuestioJJJ18hes upon its
       knowledge of the OQCuuence ofsuch events•.

   D. Met Council sba11 complete any vendor review report process required by any City, State
      or federal agency, official and/or employee,'engage in open and good:fidth dialogue with
      the AgenCies and with any such other agency, official and/or employee regarding
      recommendations arising ftom that process, andshaU use best efforts to comply with aU
      such resulting recommendations as are jointly deemed by Met Council and the relevant
      agenoylies, official(s) and/or employee(s) to be reasonable.
  B. Met Counctl acknowledges that nothing in this Agreement shall be deemed to limit,
     impair or waive in any way, any existing rights ofany governmental or regulatory
     authority, including any City, State or federal authority, to audit, investigate and evaluate
     past, currant and future acts ofMot Council and to seek further corrcctivo actions
     including monetary restitution as appropriate. Without limiting the generality ofthe
     foregoing, nothing in this Agreement shall be interpretec;l to imp&ate, affeet or impair
     asc's duties and au1bority uridertbe New York State Constitution and Now York State
     law.

   F. Met Cowicil sba1l cooperate fully with aU audits and investigations by aU City, State and
      federal agencies. officials and employees, including all audits or investigations by the
      NYC Department ofHousmg Preservation and Development (HPD) and/or the U.S.
      Department ofHousing and Urban Development (HUn), including by (l) fully and
      fiJ.ithfu1ly complying with the terms ofthe Investigations Clause contained in all City
      contracts; and (2) upon request, providing to the Agencies as well as the specific
      agencies, officials and employees conducting a given audit or investigation, aU
      documentation and information necessary to veritY compliance with this Agreement or
      otherwise requested in connection with the audit or investigation.

IX. Damages

   A. As ofthe date ofthis Agreement, the total minimum amount ofthe State ofNew York's
      clahns arising out ofRapfogcl's Utcfts and the insurance fraud scl1eme at Met Council is
      5534,600. By June 30. 2014. Met Council shall pay this amount to the State ofNew
      York or by suoh other means as the parties agree. In the event that Met Council is
      determined at any future time to owe additional amounts to the State ofNew York as a
      result ofthis or any additional misconduct previously unknown to the State that resulted
      in damages to or overpayments by the State, the payment of such additional damages and
      any :further consequences shall be determined at that time.

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   B. As oftho date oftbis Agrecmumt, the total minimum amount ofthe CIty ofNew York's
      claims arising out ofRapfop's thefts and the insunm.ac ftaud Scheme at Met CounolI is
      S6OO,ooo. By June 30, 2014, Met Council sbaJ1 pay tbis amount to the City ofNcw York
      or by suah otherJllC8DS as the parties agree. In the mmt that Met Council is determined
      at any future time to owe additional amounts 10 the City ofNew York as a r8sult of1his
      or any additional misconduct previously unknown to the City that ~ted in damages to
      or overpayments by the City, the payment of suob additional damages and any further
      ooosequcmces sba1l be detflnDined at that time.

X. Additional Terms

        The OAG agrees that, in consideration ofthe ~gs herein by Met Coun~ no
action will be brought by the Attorney General on his own behalf against Met Councilor any
prescot or past director or offioer or employee ofMet Counoil (axoluding WIDfam Rapfogel,
David Cohen and Herb Friedman), for claims arising undcrthe N-PCJ.. or BPTL with respect to
the transactions, acts and omissions covered by the Investigation, provided that the OAG shall
not be barred ftom rapmscnttng any other government agmwy in investigations, actions or
proceedings against Met Council. This Agreement shall in no way limit the OAG's ability to
investigate and bring any civil action against Met Council, any Individual director or officer, or
any other person or entity for any act or 1raDSaotioo occurring after the date h~t: Nothing in
this·Agreement shall be deemed10 affect or limit in any way the OAG's pending proceeding
against WUllam Rapfogel or any OAG investigation or proceeding involving criminal activity.
whether under the Penal Law or otherwise.

       Nothing in this agreement shall be deemed to affect or limit in any way the OAO's
pending criminal investigation related to Met Council inoluding. but not limited to, any currcmt
or former employees or individQals associated in any way with Met Council.

        The DAG has agreed to the terms oftbis Agreement based on, among other things, the
representations made to the OAG by Met CQuncil and its counsel, and the OAO's own 1kctua1
Investigation. To the extent that any material representations are later found to be inaccurate or
misleading, or the OAG learns offi:\cts oonoemfng Met Council.and/or any of its past, present or
future directors or Key Personnel not disolosed to the OAG as ofthe date of1his Agreement that
demonstrates a lack ofhoDesty or integrity. whether or not such information oonstitutes
criminally or oivilly Hable conduct, this Agreement is voidable by the OAG in its sole discretion.

        No representation, inducement, promise, understanding, condition, or warranty not
set forth in this Agreement has been made to or reHed upon by Met Council in entering into this
Agreement.

        Met Council represents aJid warrants, through the signatures below, that the terms and
conditions of this Agreement arc duly approved, and execution ofthis Agreement is duly
authorized. The parties recognize and acknowledge that Met Council is represented by counsel
and that the Board has received independent legal advice with respect to the advisability of
signing this Agreement. Neither the Met Council Board nor any individual director or officer
shall take any action or make any statement denying, directly or indirectly, the propriety ofthis

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  Agreement or expreSsing the view that 1his Agreement is without:factuU basis. Nothing in this
  paragraph affects.any Met CounciI din:ctor's or officer's (i) testimonial obligations or (it) right to
  take legal or faotual positions in defense oflitigation or other legal proceedings to which the
  OAG is not a party. '1bis Agreement is not intcmded fur use by anytbird party, othcr1ban the
. Agencies, in any other proeeeding and is not intended. and should not be construed, as an
  admission ofliabillty by Met Counoil or any Met Council director or officer.

        The dW'ation oftbis Agreement is five (5) years fimn the date ofexecution. This
  Agreement may not be amended except by an instrument in writing signed on
  behalfofall the parties to tbls Agreement.

        This Agreement shall be binding on and inure to the benefit ofthe parties to this
  Agreement and their respective successors ~d assigns, provided that no party, other than the
  OAO, may assign, delepte, or otherwise transfCr any of Its rights or obligations under this
  Agreement without the prior written consent ofthe OAG.

          If a court of competentjwisdiction sbaI1 determine that Met Council or any past or
  present member of its Board shall have breached this Agreement, Met Cowcil shall pay to the
  OAG the cost, if any, ofsuch determination and ofenfurcing this Agreement, including without
  limitation legal tees, expenses, and court costs.

         'In the event that anyone or more oftho provisions contained in this Agreement sbaIl for
  any reason be held 10 be invalid, illegal or unenforceable in any respect, in the sole discretion of
  the OAG suob invalidity, illegality, or unenfbrceabDity shall not affect any other provision ofthis
  Agreement.                '

        To the extent not already provided wder this Agreement, Met Counoil, upon request by
  the OAG or the Agencies, shall provide all documentation and information necessary for the
  OAG and the Agencies to veritY compliance with this Agreement.

        All notices, reports, requests, and other communications to any party pursuant to this
  Agreement shall be in writing and shall be directed as follows:

                 Ifto the OAO, to:

                         The Office ofthe Attorney Oeneral
                         Enforcement Section Chief; Charities Bureau
                         120 Broadway - Third F)oor
                         New York, NY 10271

                 )fto Met Council, to:

                         Davi~ M. Frankel
                         ChiefExecutive Officer
                         Metropolitan Council on Jewish Poverty
                         120.Broadway
                         New York, NY 1027)

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·.



                            Andrew J. Levander, Esq.
                            DechertLLP
                            1095 Avenue ofthe Americas
                            New York, NY 10036

            Aooeptance of this Agreement by the OAG sba1J not be dcemCd approval by the OAO or
     the Agencies ofany of tho pnwtices or procedures referenced herein, and neither Met CmmciJ
     nar any member oftho Board ofDirectors shall JDBke any representation to the contrary.

            Please acknowledge Met Council's agreement and ~eptance ofthe terms specified in
     this Agreement by signing below and returning the signed copy to me. By signing below, Met
     Council's representatives ate representing 10 the Attorney oCnara1 that they haVel fall authority
     on bebaIf ofthe Met CouncD Board ofDtrectors to execute this Agreement and bind Met
     Council and its Board ofDireotors to the terms thereot: Execution oftbis..Agreement by the
     Attorney General shall not be constnJed as waiving any rights the Attorney General has under
     New York law.

              I appreciate your continued cooperation.

                                                                  Sinoerely,


                                                                  A
                                                                  David B. N·acJijiilan
                                                                  Enforcement Section Chief;
                                                                  Charities Bureau


     Accepted and Agreed:

                                       ~~INATING COUNCIL ON mWISH POVERTY




     DECHERT LLP


     By:      Q~11.....               _
           Andrew J. Levander
           AJtorneyafor Met Council

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